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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,           )
                                    )
                Plaintiff,          )
                                    )                 4:05CR3034
          v.                        )
                                    )
ALEJANDRO ROQUE RAMIREZ,            )
                                    )                    ORDER
                Defendant.          )
                                    )



     Trial of this matter is set for August 23, 2005 before the
Honorable Richard G. Kopf. Defense counsel has requested that
the defendant be here well in advance of trial.

     IT THEREFORE HEREBY IS ORDERED,

     The United States Marshal is requested to bring the
defendant to Lincoln as soon as practicable or to keep him here
at this time.


     DATED this 12th day of August, 2005.


                                   BY THE COURT:


                                   s/   David L. Piester
                                   David L. Piester
                                   United States Magistrate Judge
